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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

 

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MTISKEIL F* E‘*" E“’ ED lmwa W»
VERSUS |JEC 'l 2201L DIVISION;
wesr§q%¥oqs¥§€$<EJFCLE'§\JIKSIANA
RAY HANSON Bv sHREvEPom LO
CLERK OF COURT

 

FILED

 

 

PETITION FOR WRIT OF HABEAS CORPUS

PRO SE SUPPLEMENTAL BRIEF OF APPELLANT T0 BE ATTACHED T0
THE 0RIGINAL WRIT 0F REVIEW 0F THE L0UISIANA sUPREME COURT
DECISION NO-O‘?®/§f K §35_3, AND BJSM§& ~ KH ®5’:1-3 FIRST CIRCUIT
COURT 0F APPEAL DECISION N0; 2012-KA-1976, FILED BY APPELLANT
ATToRNEY 0N FEBRUARY 15,2014.

 

 

STATEMENT OF JURISDICTION

THIS HONORALE COURT HAS SUBJECT MATTER JURISDICTION TO
PRESIDE OVER THE INSTANT WRIT OF HABEAS CORPUS, VIA 28 U.S.C. 2254.

0N APPEAL FROM AN AGGRIEVED RULING BY THE LA. sUPREME
COURT N0. 9\®! LC- `l< ®353,AN1) olqu KH -D§'HAND THE FIRST CIRCUIT
COURT 0F APPEALS N0. AUIQ- KA l‘WQ. STATE 0F LOUISIANA vERSUS CURTIS
KEIL....PRO SE LITIGANT 22ND, JUDICIAL DISTRICT COURT PARISH 0F
WASHINGTQN STATE 0F LOUISIANA CASE N0. 101008

 

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PROCEDURAL HISTORY

Defendant Curtis Keil was charged by Grand Indictment with contravention of LSA-R.S. 14130.1.
relative to second degree Defendant was formally arraigned and pled not guilty to said charge. Following,
defendant was found guilty of the responsive verdict of manslaughter in violation of LSA-R.S. 14:31.
Defendant Keil filed motions for new trial and post verdict judgment of acquittal The trial court denied
both motions Defendant was then sentenced to thirty years at hard labor. Defendant filed a motion to
reconsider sentence, but the trial court denied that motion as well. Defendant was represented in his
criminal proceedings by two (2) different attorneys, namely John Lirider and John Almerico. Defendant
appealed his sentence and conviction citing several assignments of error, (l) Sufficiency of the evidence,
(2) State’s use ofinadmissible evidence, (3) False/Perjured testimony, (4) Unlawful and lllegal Verdict, and
(5) Ineffective assistance of Counsel. Couit of Appeal- First Circuit, affirmed defendant’s conviction and
sentence

Oii lanuary 9, 2014, defendant filed an application for rehearing to the Court of Appeal/ First
Circuit, arguing that the district court was in contempt of an interim order issued on October 15, 2013,
ordering the trial court reporter to produce the transcript of the ex parte communication the prosecutor and
members of the jury were caught engaging in during jury deliberations This fact was revealed to the trial
court by the bailiff on duty on that date and approximate time It was related that the ADA Lee Ann Walls
was caught iri the hallway talking to one of the jurors Whatever information that was exchanged between
ADA Walls and the juror, it is not mere speculation to imagine that, that particular juror could have been
the swing vote or influence to have caused the unanimous guilty verdict of manslaughter. The appellate
court also ordered that ifthe court reporter could not produce the portion of the transcript pertaining to the
ex parte communication, then to submit an explanation to the court regarding why a transcript could not be
generated

As a result of the trial couit’s i'eporter’s refusal to comply with the appeal court’s order, the first
circuit court prematurely issued its decision denying motion for rehearing without reviewing the record as
whole, gaining a more comprehensive understanding of the nature and legitimacy of this defendant’s
complaint At the very least the circuit court could have sought an explanation from the trial court reporter
in question The Circuit Court’s affirmation of defendant’s sentence and conviction without investigating
the facts relative to his complaint of jury tampering by the state, denied the defendant due process and
equal protection of the law, and well as his constitutional and statutory right to an equitable and fair appeal.
Defendant was represented iii his direct appeal by l\/lr. Prentice L.White, Louisiana bar roll number 24250,
Appellate Counsel, Louisiana

Appellate Project, P.O. BoX 74385 Baton Rouge, Louisiana 70874, as Well as defendant’s pro se

supplemental brief.

Defendant now submits thisH» brief in support ofthe original brieffiled by Mr. White

on Februaiy 15 2014 LA~ duffle/we CQU Dem€eo en MO\)- D»w) a@|‘i »
CHRONOLOGY OF EVENTS

On May 2, 2011 a motion to suppress and quash hearing was held and subsequently denied by the
trial court. Defense objected for appellate reasons Defendant’s motion to Reconsidei‘ Sentence was also
denied Trial in this matter commenced on October 24th thru October 27th 2001. At the conclusion of the
four (4) day trial, the jui"y returned a guilty responsive verdict of manslaughter on October 27th 201 l. The
defense filed a motion for New Trial, which was denied by the trial court. Defendant was sentenced to
thirty (30) years at hard |abor. Defendant’s motion for Post Verdict Judgment of Acquittal was denied.

On October 27'h 201 l a motion for appeal was filed and granted. This supplemental brief
addresses the issues that Were subsequently denied on direct appeal; decisions from the trial court and court
of appeal ls‘ circuit.

A motion for ieheai ing was filed to the court of` appeal lSt circuit by Attoritey White of the
Appellate Pioject which was erroneously denied absent a complete recor.d T"H€§C flev.&/wl_g`

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» STATEMENT OF THE FACTS

On the 6th day of October 2008, defendant Curtis Keil was arrested at his family’s home by
Detective Paris Smith of the Washington Parish Sheriffs Office and was subsequently charged with the
murder of one Terrance Harris, who was shot and killed on Ann Street in the town of Bogalusa, La. Please
note that this arrest within twenty (20) minutes following the alleged shooting without incident, nor did the
defendant exercise any effort to flee from or elude the arresting officers There was never any weapon
recovered that was allegedly used in the shooting Hearsay and innuendo prompted the police to develop
the defendant as a suspect in this crime. There Were no credible witnesses whom allegedly observed the
events on the day in question (10/06/08) who could have positively put Mi'. Keil at the scene of the crime.
ln fact, nor did the alleged eyewitnesses ever pick Mr. Keil out of any photo or live physical line-up.
Furthermore, defendant’s face was plastered all over the front page of the Washington Parish’s Newspaper
and the Face book lnternet two (2) days following his arrest on (10/08/2008)_
The state filed an indictment with the grand jury who in turn issued a true bill charging the defendant with
second degree murder. Trial was scheduled This stage ofthe defendant’s right to direct appeal follows

ASSIGNMENTS OF ERROR
l) Was the evidence insufficient to convict; and did the state’s witnesses give false and perjured
testimony?
l) Did trial court err in allowing the state to use inadmissible evidence at trial, i.e. the use of Sgt.
McDaniel’ testimony concerning a prior altercation defendant had with the victim’?
2) Did trial court err in denying defendant’s motions for new trial, post judgment verdict of acquittal,
motions to quash and suppress?
3) Did the court of appeal ls‘circuit err in affirming defendant’s sentence and conviction without
reviewing the complete record thereby denying defendant’s motion for rehearing, thus compromising
his due process right to a fair and impartial appeal?}TO "\>Q\»\UE LP" 5:[’/’15‘46' CS<»~/Z;l- /¥(§w" i!M/q#)
4) Was the responsive guilty verdict of manslaughter an illegal verdict?
5) Was Counsel ofrecord ineffective at ti'ial‘?

 

lSSUES PRESENTED
l) Evidence presented at trial was insufficient to convict.
2) The state’s witnesses gave false and perjured testimony at trial.
3) The trial court erred in allowing the state to use inadmissible evidence at trial, i.e. Sgt. Mc Daniel’s
testimony concerning a prior altercation the defendant had with the victim.(l§>D EV}D€“W Cf- Pil€£€f?'lé 3
4) The trial court erred in denying defendanth for motion new trial, post verdict judgment of acquittal '\
and motions to quash and suppress.(M@ 500 `f° 5pr + Q`!We-<Pi §f#'f€"§ n/(éj&`z> éj C- wifn§$.s€;)
5) 'l`he court of appeal lSt circuit erred in affirming defendant’s sentence and conviction without "
reviewing the complete record thereby denying defendant’s motion for rehearing thus compromising
his right to due process and a fair and impartial appeal//H rJ>E-.ll 45 `lizi(-‘ LA t Sepgg¢~,,§ Q£;-u
6) The responsive guilty verdict of manslaughter was an illegal verdict.
7) Counsels ofrecord were ineffective at ti‘ial.

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Assignment of error # 1
The evidence presented at trial was insufficient to convict, and the state’s witnesses gave false and
perjured testimony at trial.

When issues are raised on appeal both as to the sufficiency of the evidence and as to one or more
trial errors the reviewing court should first determine the sufficiency of the evidence. The reason for
reviewing sufficiency first is that the accused maybe entitled to an acquittal under Hudson v. Louisiana1
450 U.S. 40, 101 S. Ct. 970, 67 L.Ed. 2d 30 (1981), ifa rational trier of fact viewing the evidence in
accord With Jackson v. Virginia, 443 U.S. 307, 99 S. Ct. 2781, 61 L.Ed.Zd 560 (1979), in the light most
favorable to the prosecution could not reasonably conclude that all of the essential elements of the crime
have been proven beyond a reasonable doubt. State v. Bellamy, 599 So.2d 326 (La. App. 2d. Cir.) Writ
denied 605 So.2d 1089 (La. 1992); State v. Hall,261 505 (La. App. 2d. Cir. 12/7/94), 606 So.2d 453.

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In this instant case at bai‘, the defendant alleges that the verdict is contrary to the law. The
evidence produce at trial and the state failed to remove every reasonable hypothesis of innocence The
evidence was insufficient to convict him of the charge of second degree murder of which he was acquitted
and even more insufficient to convict of the responsive verdict of manslaughter.

The evidence presented at trial was not sufficient enough to support the conviction to pass
constitutional muster under Jackson v. Virginiaz sugra. Defendant herein asserts that there was no
physical or scientific evidence presented, nor was there any physical or photo line up process whereby the
alleged witnesses could positively identify him as the shooter. A conviction based on insufficient evidence
cannot stand as it violated due process: U.S. Const. Amend. 14"', Article l, Section 2.

The Jackson standard of review incorporated into Article 821 (B) La. C.CR.P., is an objective
standard for testing the overall evidence both direct and circumstantial for reasonable doubt.

The verdict of guilty of manslaughter in this instant case is contrary to the evidence presented by
the state in its case in chief. The statements and testimony was inconsistent, false, perjured and limited to
circumstantial evidence The rule as to circumstantial evidence is, assuming every fact to be proven that
the evidence tends to prove In order to convict it must exclude every reasonable hypothesis of innocence
(supported by LSA- R.S. 15:438). ln this instant case, there are myriad of other interpretations for the
limited circumstantial evidence that the State presented and consequently the jury’s verdict is contrary to
the evidence presented at trial or lack thereofl And as such, an acquittal is mandated in this case.

Pursuant to article 851 (5), the trial judge reviews the evidence as the 13th juror when either
851 (l) or 851 (5) are the gounds for a new trial.....State v. Watts, 835 So.2d 441, 449, (La. 2003),
see also State versus Jeanlouis, 683 So. 2d 13551La. App.3rd Cir. 1996).

The 13th juror standard directs the trial court to reweigh the evidence and either agree or disagree
with the jury’s decision A trial judge who sits as a 13th juror entertains such questions as, 1) was the
verdict contrary to the law? 2) Was the verdict contrary to the evidence’? 3) Does the verdict fall short of
serving the best interest of justice’? Thus, if the answer to any question such as above suggested is yes, then
the defendant’s conviction shall not stand. The defendant herein asserts in view of the substantial lack of
credible evidence and the fact that ADA Walls allowed state witnesses to give false testimony without
correction, combined with the fact that the testimony at issue has been shown to be false and material to
the defendant’s allegation that the officers did lie on the stand, prejudiced his defense The prosecution
knew that their testimonies was false and yet ADA Leann Walls did absolutely nothing to correct it (see
exhibit # U, Police Report, pages 5 &6 and trial transcripts pages 1 l 10, 1 1 1 1 and 326 as listed in pro se
brief exhibit# “B_”z page 10). lt is incumbent upon this Honorable Court to reweigh the evidence against
him sitting as the 13th juror, which necessarily includes a review of the credibility of the witnesses’

testimony and the lack of physical evidence presented by the state[A 150 `l° 99 Vié?w`» lin/156 4' U$ w

This instant trial was replete with false statements inconsistent and perjured testimony. The police
conducted a thorough search of the defendant’s home and land. His vehicle was towed away, examined
and found to be free of any evidence that would link the defendant to this crime All of this transpired
within a twenty (20) minute time frame, between the time of the crime and the defendant’s arrest at his
home The search yielded zero results in terms of evidence, either physical of scientific (i.e. weapons,
DNA, gun powder residue; not to mention there was no positive identification by any of the alleged
witnesses that would link the defendant to the crime scene, (see exhibit # “A_”_.z Police Report...page six
(6)....State v. Parent, 01-50 pg. 7 (La. 5th Cir. 5/30/01, 788 So.2d 685, 689. See also trial transcripts §

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Reliability is the linchpin in determining the a missibility of identification testimony for
confrontations The factors to be weighed against the corrupting effect of the suggestive procedure is
assessing reliability are set out in Neil v. Biggers. 409 U.S. 188, 93 S. Ct. 375, 34 L.Ed. 2d 401 and
include the witness’ opportunity to view the criminal at the time of the crime the witness’ degree of
attention, the accuracy of his prior description of the criminal, the level of certainty demonstrated
at the confrontation and the time between the crime and the confrontation. See also Manson v.
Brathwaite, 432 U.S. 98, 97 S.Ct. 2243, 53 L.Ed. 2d 140,.

ln this case at bar there was never any live or photo line up by any of the alleged witnesses to
identify the defendant His identity was unknown even to the 911 caller.

Furthermore, it would have been virtually impossible for the defendant to have cleaned himself of
any blood, DNA, gun powder residue resulting from a bloody crime scene lfthe defendant had shot from
the car as he was allegedly leaving the crime scene, there should have been physical evidence to support

 

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that allegation The vehicle was examined and impounded for two (2) months and no evidence of any kind
was ever found and the vehicle was returned to defendant’s family. Moreover, without any positive
identification out of court or otherwise the evidence was insufficient to convict the defendant of this crime

ln this instant case at bar, the defendant was not recognizable by any of the state’s witnesses,
whom by the state’s own admission were not credible at time of incident However these same witnesses
became suddenly credible three (3) years later at tria|. Defendant asserts that because his photo was
plastered on the front page of the Washington Parish Newspaper and Face book intemet a mere two days
after his arrest before he was positively identified by any witnesses at trial three years later. This article
was published on 8"‘ of October 2008. (See exhibit #B) The importance of this fact is to show this
reviewing court that because of the newspaper and face book photos and stories the alleged eyewitnesses
were able to pick the defendant out at trial three (3) years later. That act violates the landmark decisions
decided in Manson v. Brathwaite, supra. (See exhibit # m page,_lZ . Furthermore at the time of the
incident there was no description of the type of clothing the suspect l r or his body type, skin color, or
any other distinguishing features made by any of the so called “eyewitnesses” whom were all alleged to
have been in close proximity to the incident See exhibit #”B”1 page 10 of the Motion to Quash and
Suppress Hearing transcripts on 5/02/201 l). See also State v. Parent, supra, “lnternal Conflicts of Physical
Evidence”, see also State v. Powell..App. 2d Cir. 19_96, 677 So.2d 1008, 27, 959 (La. App. 2d Cir.
4/19/96). Writ rlenie(l, 688 So.2d 520. Furthermore, the fact that the state conceded that 1\/1r. Keil did
not make a statement and there Were no credible eyewitnesses to the shooting, then doing a complete
reversal on the brink ofjury selection by informing the court that it had intended to introduce at trial a
statement that the defendant Keil allegedly made to the police after being read his constitutional rights
under Miranda. The fact is that the only thing Keil said is contained in the record..(.see exhibit #”£,
pages 5/6 police report). For the state to give two (2) different and conflicting statements to the court in
any criminal proceeding has to be construed as prosecutorial misconduct and that conduct by the state
attributed to a gross miscarriage of justice in denying defendant Keil a fair and equitable trial. In addition
to the state’s underhanded tactics which undermined defendant Keil’s defensive effort to declare his
innocence of this crime, the trial court erred in allowing the state to present this “phatitom” statement to
the jury when it denied the motion to suppress (See TR, pages IIIO, IIII, alul 326). ADA LeAnn Walls
knew from the start that there Was never any confession or statement offered by the defendant to any
police officer, yet she lied to the court armed with the knowledge that she could not produce such a
statement written, recorded or otherwise to support her allegation.

“Prosecutoris prejudicial remarks suggesting during crossexamination of defendant that more
drugs existed at defendant’s trailer was improper without evidence of the drugs or paraphernalia and
warranted mistrial in prosecution for possession WITD ` n
Methamphetamine or drugs or paraphernalia in the trailer....State v. Gay, 616 So.2d 1290 (La. App. 2d
Cir. 1993). Reversed, vacated and remanded for new trial. ADA Walls deliberately lied to the court
and in the process caused her witnesses to give perjured and false testimony That act substantially
prejudiced the defendant’s trial and caused irreparable harm. The jury in defendant Keil’s trial may have
very well convicted the defendant of the lesser included offense because it heard repeated references that
he made confession/ statement that the state could not produce Absent the error there is a reasonable
probability that the jury would have had reasonable doubt respecting the defendant’s guilt ofthe offense of
manslaughter. lt was the duty of the trial court to protect against technical loss of the defendant’s basic
constitutional rights by not allowing unreliable and otherwise inadmissible evidence to be presented at
trial. To allow the jury to hear the perjured and false testimony constituted an abuse of discretion and a
denial of defendant Keil’s constitutional right to present a defense particularly where the state’s case
depended largely on Culpper’s and Phelps’ false and perjured testimony. See TR., pages 11101 1111, and
326, also see exhibit # “B” pro se exhibit, pages 10 and 11 and pages 5 and 6 of exhibit # “A”, police
report

The right to present a defense is a fundamental constitutional right in a criminal case.....LA
Const., Article I, Section 16. ln as much as the statements by Culpper and Phelps substantially affected
the outcome of the jury’s decisions on whether he made the statement three (3) years earlier was not
harmless error beyond a reasonable doubt Whenever the credibility ofwitness is to be impeached by proof
of any statement made by him contradictory to his testimony, he must be first be asked did he make such a
statement Here in the instant, defense counsel questioned Capt. Culpper under oath as to the author of the
police report and its contents and his response was that he wrote it. This indicates that the state’s position

 

 

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regarding a statement allegedly made by the defendant and given to Lt. Phelps was bogus and a blatant lie
Defendant and Lt. Phelps never had any contact at any time or anyplace. It is usual police protocol to
either record or have the statement written or typed and have the suspect sign it for the record A defendant
does not have to conduct a “fishing expedition” to declare his innocence The law of the land is “innocent
until proven guilty”. Primarily When the arrest and conviction rested upon false and perjured testimony the
case demands an acquittal.

ln the case at bar, the facts are undisputable FACTS: l) ln his police report Officer Culpper
unequivocally stated “upon arriving at the residence, Detective Paris Smith advised him that he had
l\/lirandized the defendant Keil and that Keil had elected not to give a statement unless a lawyer Was
present.” (See exhibit # m police report, pages 5 and 6). 2) At the motion to quash/ suppress hearing
held on 5/2/11 and 8/10/2009. ADA Leann Walls stipulated for the record that the defense’s motion to
suppress was moot because in fact defendant Keil did not make any statements or confessions to the
police Moreover, she also stated that there were no credible witnesses to the shooting; however on August
2011 ADA Walls informed the court of the existence of a statement allegedly given by defendant Keil to
Lt. Donald Ray Phelps at the time of arrest lronically, the state was never able to produce any statement or
confession. (See exhibit # E”, ruling from the court of appeal lSr cir. page 7). 4) lfthe state did indeed
have a statement, which the defense denies, it violated discovery rules by withholding it from the defense
That is a denial of due process That evidence should have been made available to the defense Lt. Phelps
was never on the scene of airest; see police report7 page 6, authored by Capt. Joe Culpper, exhibit # “_A_”_.
Any information that Lt. Phelps testified to under oath was the result of fabrication. He never had any
dialogue with defendant Keil. That in and of itself, makes his testimony false and inadmissible ln the three
(3) years between the incident and the trial, Lt_ Phelps never made an incident report, investigative report
or follow-up report relative to this case His version of events surrounding the crime was proven to be
completely false by the testimony of Officer Paris Smith and the police reports themselves (See exhibit
# A; , police report pages 5 and 6) see also TR, page 991.

Defendant submits that in Napue v. Illim)is 360 U.S. 264, 79 S. Ct. 1173, 3L.Ed.2d lll7 (1959),
the court decided that “a conviction obtained by the knowing use of such testimony must fall, and
suggested that the conviction is in valid even when the perjured testimony is not the result of guile or
desire to prejudice, for its impact was the same, preventing, as it did. a trial that in any real sense could be
termed fair. Id, at 2 701 79 S.Ct. at 1177, quoting People v. Savvides, l NY211 554, 55 7, 154 NYS. 2d 885,
886 -888, 136 N. E. 211853, 854-855,(1956).

Fuithermore, the fact that defense counsel argued in his brief to the court of appeal- %:ircuit
complaining about late disclosures only scratches the surfaces For the state to allege the existence of a
statement and not be able to verify it by certified written proof or video or camera, etc., and the fact that
Culpper agreed to the statement after reporting there was no statement at arrest or anytime thereafter
constitutes prosecutorial misconduct malfeasance in office and malfeasance in office tampering with
evidence and perjury. (See, R.S. 14:134, 134; La. C.Cr.P.); see also U.S. Aguilar , 645 F3rr[ 319 (5"'
Cir. 2011 ) Where the court noted that the prosecutor must win fairly or is a constitutional violation, and
because of unfairness and breach of integrity at the district court level, this constitutes reversible error.
Couits have consistently held that any unethical practices by the prosecution during the course of a
criminal proceeding, i.e. jury tampering, withholding discovery, supplying false information to the court,
etc., is amply described as prosecutorial misconduct, as decided in the federal rulings cited in U.S. v.
gomez Aviia, 678 F 3"' 955, (9’" Cir. 2012),- egger v. r/.s. 295 U.s. ar 78, 88, 55 s.Cz. 629,- U.s. v.
C/mpm¢m, 524 F 3111073, 1085 (9”' cir. 2008),- U.s. v. rra/avan, 8 F 3'” 1315, 1323L( " cir. 1993),- U.s.
Ziskin, 360 F3"’ 934, 943 (9‘” cir. 2003.

Apparently in order for the trial court to state that it was aware of the statement1 then logic would
have it that it must have visually observed the statement verifying its existence however more
confounding is the fact that the statement could never be produced at any time for thejury. And if that was
indeed the case upon discovering that no such statement existed, it was incumbent that the trial court
determines whether the evidence possessed an exculpatory value that was apparent before the existence of
the alleged statement surfaced ln this illegal ploy by the state defendant Keil lost the possibility of
complete exoneration The state’s conduct has deprived defendant Keil ofa fair and impartial trial. The
state’s written notice of its intent to use the defendant’s alleged statement is of no consequence simply
because as stated the record is completely void of the fact that a statement ever existed and Was never
produced for the jury.

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In his appellate brief, Counselo'r P. White, Louisiana Appellate Project commented on the
childhood friendship between defendant and Detective Smith. While may be true, it should be emphasized
that as a responsible peace officer Detective Smith’s first priority was to uphold his oath as a police officer
and responsibilities by protecting and serving the public within the scope of his duties to the best of his
abilities His testimony should not be construed as a veiled attempt to help a childhood friend, but rather
his testimony was predicated on facts as they related to the incident Upon closer review ofthis matter, this
Honorable Court will readily discover that Detective Smith’s testimony accurately parallels with the police
report( see exhibit # & , pages 5 and 6), as opposed to the conflicting as well as contradictory
testimony of Capt. Culpper and Lt. Phelps ln spite of the state’s attempts to downplay the relevance of
Det. Smith’ testimony, the fact remains that his testimony under oath reveals that Officer Culpper, Lt.
Phelps and ADA Walls acted in collusion by lying about the alleged statement thereby depriving the
defendant of his 14th Amendment Constitutional Due Process right The perjured testimony of Capt.
Culpper and Lt. Phelps was deliberate and for the State to introduce it and the trial court allowed it to be
heard by the jury without correcting it, was a manifest abuse of discretion l\/Ioreover, the trial erred in not
granting a mistrial due these discrepancies (See, State v. Bl`zette, 334 So.Zd 392 (6/21/76), to also include
Napue vs. [Ilinois, 360 u.s. 264, 795 S.Ct. 1173,3 L.Ed. 2d 1217 (1959). To prove a Napue claim of
prosecutorial conduct based on allowing false testimony to go uncorrected, a defendant must show that the
prosecutor acted in collusion with a Witness to facilitate false testimony. Furidamental fairness, i.e due
process is offended when the state, although not soliciting false evidence, allows it to go uncorrected when
it appears U.S.C.A. Const. I4. When a prosecutor allows a state witness to give false testimony with out
correction, the defendant is entitled to a new trial, unless there is no reasonable likelihood that the alleged
false testimony could have affected the outcome of the trial. Granting of a new trial based on a Napue
violation, which occurs when prosecutor allows a state witness to give false testimony with out correction
is proper only if, (1) the statement at issue is shown to be actually false (fact) the testimony of Capt.
Culpepper and lt. Phelps was proven to be false by the police reports pgs 5 and 6 authored by Capt.
Culpepper, and the testimony of officer p_ smith. (fact) the prosecutor knew they were false (Lee Ann
walls) stipulated for the record during the motion to quash and to suppress on 5/ 2/ l 1 , that there Were no
statements made by the defendant , as Well as no credible Witnesses or any photo or live line up , or any
physical or scientific evidence Some (5) months earlier on 5/2/1 l, however in August 201 l she recanted
that she intended to introduce a statement allegedly made by the defendant; 3) the statement Was never
materialized ln October 24‘h thiti 27"‘ 201 1 during trial those alleged statements could not be produced for
the jury. The false and perjured testimony of Officers Culpper and Phelps were material in that as police
officers the probability of being believed by the jury was far greater than the probability of not being
believed “Police officers’ credibility must be determined the same way and by the same standards as one
evaluates any ordinary citizen”. It must not be presumed that any other people in official positions are to
be more truthful or less truthful than anyone else. The police officers’ actions this instant case raises a
colorable claim of bad faith lf the witness has willfully and deliberately testified falsely to a material fact
for the purpose of deceiving the jury and court, that entire testimony must be cause for reversal, State v.
Wairei-s, 582 s0.2¢1317, 323 (La. App. 4”' Cir. 1991).

While it is true that it’s the function ofthejury to assess the credibility of witnesses and not the
appellate court, that assessment _must rest upon truthful and factual testimorLy__and not false and perjured 4

_testimony, as is the issue in this case at bar. The alleged and_u_n_~produced confesMby Keil as it related
by Phelps and endorsed by Culpper under oath was key to the state’s case against the defendant The
record does not offer any other credible evidence to support the state’s allegations that the defendant Keil
was the perpetrator of this crime This case is replete with internal _§ggtradictiorrs and irreconcilable
_e_o£fh§g..i.e. no type of line-up, no out of court identification and as the record demonstrates tha_t:there_is

_n/o!phygipglp;scienti\fip§vidence¢linkirig Mej tgthis criine; (See State v. Gipson, 645 S0.211 1198, 26,
`433 La. App. 2d Cir. 10/2694). "”

Defendant Keil asserts that it was reversible error for the trial court to grant the state’s request to
use the alleged of court statement that was never produced, as well as the untrue and unjustified statement
of Captain Culpper. Such a move by the trial court impeded th~e!defendant’s right*tp_a_fairr and impartial

y r` nder the Sixth (6"`) AmendM ' "wi iv

The principle cfi"t'éfii)'ii of a Jackson v. Virginia review is rationality. This is because under
Winship aan Jackson, 14"’ Amendment due process demands that in state trials, as have been demanded
traditionally in federal trials a criminal conviction cannot constitutionally s~tapd_i;itjsgbg:se_;d*up;qnva record

 

 

 

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from which no rational trier of fact could find guilt beyond a reasonable doubt, rMQ.lll_ussa_ll,£M@
‘1`37)51La. 1988), citing Jackson v. Vir,qinia, supra ZT3'U.s 317, 99 s.Cz. 1112288, 61 L. Ed.zd ar 572. A
reviewing court is required to review the evidence from the prospective of hypothetical rational trier of
fact in determining whether such an unconstitutional conviction has occurred ln reviewing the evidence
the whole record must be considered because a rational trier of fact would consider all of this evidence
and the actual trier of fact is presumed to have acted rationally, until it appear otherwise Moreover, the
Supreme Court abjure any requirement that a reviewing court retry the issue of guilt, it also rejected all
forms of limited review under Which a partial one-dimensional view of the evidence is accepted as an
index of (26z 433 La. AQQ. 211 cir. 4"') of actual probative value

The Jackson doctrine does not permit the reviewing court to view just the evidence most favorable
to the prosecution and then to decide whether the evidence convinced beyond a reasonable doubt.

The court requires that criminal defendants be provided with a fair trial, not merely a good faith
try at a fair trial._...Arizona v. Youngblood, 488 U.S. 51, 109 S.Ct. 333. Regardless of intent or lack
thereof, police actions that results in defendant receiving an unfair trial constitutes a deprivation of due
process In Youngblood, supra the court noted that a conviction obtained by the knowing use of false
testimony must fall and suggested that the conviction is invalid even when the perjured testimony is not
the result of guile or a desire to prejudice for its impact was the same preventing as it did a trial that could
iri any real sense be termed fair. ld. at 220, 79 S.Ct. at 1177quoting, NY 211 554, People v. Savvi(les.

Defendant further asserts that the testimony of l\/ls. Sandra Harris, the victim’s mother, was
irrelevant in that according to the record and her own testimony, she was not on the scene of the crime and
that she was actually at work. Furthermore, she never made any statements or was not listed on the
witness list. So the relevancy of her testimony was of no value only elicited by the state to garner
sympathy from the jurors as “grieving mother”. Fact is, she was surprise witness as such the defense was
not adequately prepared to cross-examine her. Her testimony should not have been entered

ln this instant case at bar, defendant Keil clearly established the fact that the evidence presented by
the state was insufficient and for the reviewing court (1St Court of Appeal) to decide otherwise was
grievous error, depriving Mr. Keil of his right to a fair and impartial trial and appeal. This case demands an
acquittal in accordance with applicable constitutional, statutory and jurisprudential laW.

ARG UMENT
ASSlG/VMENT OF ERROR
Prior Allercation
The trial court erred in allowing Sgt. McDanie/’s testimony to be admitted at trial,
Relati`ve to a prior altercation between defendant and the deceased

On October 24th 2011, the state in an effort to establish intent and motive filed a notice of intent to
introduce evidence of other offenses under LSA-C. E. article 404 (B) (1). This anticipated testimony was
to come from a Sgt. McDaniel’s of the Bogalusa Police Department, concerning an earlier altercation the
defendant had with the decedent In his testimony, Sgt. l\/chaniel’s stated that the defendant was upset
because the BPD had not arrested Harris for an incident involving that occurred approximately two months
earlier, however there Was never any report filed, investigations conducted that Would have substantiated
McDaniel’s claim overathree year period before the trial There was never any surveillance videos,
sign in log or any thing that Would have corroborated Sgt. l\/chaniel’s story about this prior altercation,
and his contention that defendant Keil had made several complaints in person to the Bogalusa Police
department particularly a Week before the instant offense Evidence of a prior act or conviction could result
in unfair prejudice i.e. the tendency to lure the fact finder into declaring guilt on grounds different from
proof specific to the offense charged Such an improper ground for finding guilt includes generalizing a
defendant earlier bad act into his bad character and taking that as raising the odds that he did the later bad
act now charged ln short although propensity evidence is relevant, the risk that a jury will convict for
crimes other than those charged or that uncertain of guilt, it will convict anyway because a ”bad” person
deserves punishment creates a prejudicial effect that out weighs ordinary relevance LA. C.E. Art. 404(13).
ln short because propensity is an improper basis for conviction, unless probative value of the evidence
tending to show propensity far out weighs the risk ofunfair prejudice as required under LA. C.E. 403, such
evidence must be excluded See, U.S. v. Moccia, 681, Frl. 2d 61, 63 (1"" Cir. 1983).

ln this case at bar, there is no evidence to suggest that the defendant Keil had any propensity to be
violent, in fact, he Was acquitted of the charged offense of second degree murder, directly as a result of
lack of evidence He was the victim of an attack, not the initiator or the aggressor. The testimony of Sgt.

 

 

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McDaniel s by all accounts was irrelevant immaterial and misleading His testimony was not based upon
fact, but speculation and conjecture, because he allegedly told the defendant that his attackers would not be
arrested In fact if Sgt. McDaniel’ s contentions were true then why didn’ t he produce at trial, sign- in logs
or video footage verifying the defendant’s alleged visit to the police station with his complaints ln that
case, motive and intent could have been established (see Exhibit # _B* pg. 16 and Tr.) However, since
the meeting with l\/chanie|’s never occurred his testimony was baseless and false The trial courts
allowance of his testimony to be introduced at trial is a manifest abuse of discretion. This case demands an
acquittal

See State v Gav, 616 So. 2d 1290 La A.pp 2 cir.1993) Miaw`l remark
suggesting during cross- -exarnination of defendant that more drugs and paraphernalia existed at defendant' s
trailer was improper without evidence of thwn_ali_a"ari'dw warranted mistrial in prosecution
for possession with intent to distribute methamphetamine; without evidence omaraphernalia at
the trailer the references were not part of the res gestae, prosecutor was attempting to show intent to
distribute, and no expert testimony indicated that the three and one-half grams of methamphetamine was
consistent with distribution LSA-C.Cr.P. art. 770. Witness' prejudicial remark that is deliberately elicited
by prosecutor is imputable to state and mandates mistrial 'l`he state presented no evidence during the trial
that more methamphetamine or drug paraphei'nalia, such as scales and baggies, were secreted in the
defendant's trailer. lt was improper for the prosecuting attorney to suggest by means of specific questions
to the defendant that more drugs and drug paraphernalia existed at the defendant's trailer, when he had no
evidence to prove their existence As there was no evidence of other drugs forming an integral part of the
transaction, the reference can not have been admitted as pair of the res gestae exception. Trial counsel for
the defendant should have objected to the references to other crimes. In the instant case, there was no
expert testimony from the crime lab or police officers that the amount of drug found was consistent with
distribution Lrwl}uh`pi`o_ecutor deliberately made a series of references to drugs and paraphernalia
SWMMMMS trailer to establ_lsh the WW TW¥ will

have con_victed Gay of the charged offense because it heard repeated_references that he possessed more

dm°sandparaphemalia at his horne: Absent the error7 there is a reasonable probability that the jury would

 

vii/The testimony of Sgt l\/chaniel’ s must be viewed within the same context as in the arguments
against the false and perjured testimony of Captain Culpper and Lt. Phelps This allegation is supported by
the undeniable fact that the State lacked evidence to convict These officers never produced any evidence
ofa statement or confession, or evidence of a visit to police headquarters to speak to Officer McDaniel at

anytim€. j \6(=, E_' _\S‘\”f;t{-C_ \¢i. Gq/~}a) 514,01€¢) ,

 

ARGUMENT

ASSIGNMENT OF ERROR

False and Periured testimony
ADA Leann Walls and captain Culpepper and Lt. Donald Ray
Phelps committed perjury under oath during trial and motion
lzearing. (Dated 10/24/-27/2011)
“Perjury is the intentional making ofa false statement, written or
oral, in and for the use iii ajudicial proceeding ln order to
constitute perjury, the false statement must be under sanction of an
oath or an equivalent affirmation and must relate to matter material

to the issues or question in controvers LSA R.S. 14:123(Al. La.
C__C_.r..P avail 'Rr§, 142 19»‘
On 10/6/2008 the date of arrest, Captain Cul pepper stated in his police report that the defendant
Keil did not make any statement but only invoked his right’ s to 1emain silent, see Exhibit # )4 police
report pg. 5 6. On 8/11/201 l at another hearing ADA Walls informed the court that the state intended to
use a statement defendant Keil allegedly made on his date of arrest to Lt. Phelps. The defendant objected to
it’s admissibility for obvious reasons lt had already been established that two prior hearings no statement
existed, see Tr. T. pg. ll lO, l ll 1,326.
ln this instant case ADA Leann Walls informed the couit at a motion to quash hearing, held
5/2/201 l, that the motion to quash was moot, because there was no statement to quash or suppress nor was

thereany creditable positive eye witnesses THE /\/LU‘AS~Q 7‘0 SM_HQ`Q&§\S /}m@( §)ot£»£@
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At time of trial Lt. Phelps testified under oath that the defendant made a statement when arrested,
however Lt. Phelps was not on the scene of arrest, as the testimony of arresting officer Parish Smith
confirms that the only officers present at arrest were McClendon, and Brumfield. Captain Culpepper
arrived on the scene after the defendant had been transpoited to Bogalusa city jail by patrolman Stogner,
see Exhibit # fig police report pg. 5, 6.

l\/loreover, Officer Smith report, and Captain Culpepper report does not document any evidence
that the defendant made any statement to Lt. Phelps (l) Phelps was not on scene (2) at trial no alleged
statement was ever produced for the jury at any time Witnesses Culpepper and Phelps’ prejudicial remarks
that are deliberately elicited by the prosecutor is imputable to the state and mandates a mis~trial, State v.
Gav, 616 So. 2d 2190 (La App. 2d. 1993). See State v. Gav, 616 So. 2d 1290 (La. App. 2 cir. 1993)
Prosecutor's prejudicial remark suggesting during cross-examination of defendant that more drugs
and paraphernalia existed at defendant's trailer was improper without evidence of the drugs or
paraphernalia and warranted mistrial in prosecution for possession with intent to distribute
methamphetamine; without evidence of drugs or paraphernalia at the trailer, the references were not part
of the res gestae, prosecutor was attempting to show intent to distribute, and no expert testimony indicated
that the three and one-half grams of methamphetamine was consistent with distribution. LSA-C.Cr.P art.
710 Witness' prejudicial remark that is deliberately elicited by prosecutor is imputable to state and
mandates mistrial. The state presented no evidence during the trial that more methamphetamine or
drug paraphernalia, such as scales and baggies, Were secreted in the defendant's trailer. lt was
improper for the prosecuting attorney to suggest by means of specific questions to the defendant that more
drugs and drug paraphernalia existed at the defendants trailer, when he had no evidence to prove their
existence As there was no evidence of other drugs forming an integral part of the transaction, the
reference can not have been admitted as part of the res gestae exception Trial counsel for the

Defendant should have objected to the references to other crimes In the instant case, there was no
expert testimony from the crime lab or police officers that the amount of drug found was consistent with
distribution Instead, the prosecutor deliberately made a series of references to drugs and
paraphernalia supposedly secreted at defendant's trailer to establish the intent to distribute element.
The jury may Well have convicted Gay of the charged offense because it heard repeated references
that he possessed more drugs and paraphernalia at his home. Absent the error, there is a reasonable
probability that the jury would have had reasonable doubt respecting the defendant's guilt of the
charged offense

Furthermore, defendant asserts that the court of appeals, first circuit erred in determining this
assignment of error lacked merit Defendant’s specific claim for relief relative to the false and perjured
testimony assignment is vividly listed in the records See police report Pg.5, 6 Exhibit# _}51}_, also Exhibit
fig pg. 9 pro-se brief, and transcript pg.991 ~ 998[ Furthermore, the jury may have well convicted Keil
of the offense of Manslaughter because it was rezgaifedly said from ADA Walls, Captain Culpepper and Lt.
Phelps references about a statement alleged to have been made by defendant Keil that could never bi
produced Moreover, the testimony of office Smith and Captain Culpepper police report validates this
defendant’s argument, this case demands acquitta|. Absent the error there is reasonable probability that the
jury would have had reasonable doubt, respecting the defendant’s guilt on the manslaughter offense
Defendant Keil further asserts that Officers Smith testimony relative to his concerns about Lt. Phelps

attempts to get him fired is not material to the issues at hand 'l_`he unequivocal fact is that Phelps testified
cunder oath to a lie with out¢being able`tt_):yerify his allegations Captain Culp_epper Committed per`ury
Ut_re_te§t_if§d"u_nde_r"oa_thk that he knew of a state_mvenl that the`d?fe'nUr_it madi t§ying to validate

vLt_-P_ helpS netwtsdtstaterpsntl,nllsai§aptain §§ulp€pp€r.’§polis€stsp§at at time Qf arrest clear.ly,§hoxvsttiat
v_the defendant never made any La£ernent, and tth is whylio sgatement cdtrldever;be produ;ce>d:§ee“l§xhibit_
# &__ police re ort Pg.5, 6. Their testimonies were highly pr§judicial, erron<M damaging to
dWLtestimony andthe State refused tomc_ogr;e;c_t3

Fig_sit/subst_anLirMyinfluenced thejury, which in turn affected the outxcomgp_f`t_h_e`t`rlal. 'm~w§

` Moreover, once testimony that is proven to be false an`dwto have beeii;a part of a criminal
proceeding then that evidence is tainted thus everything related to it becomes subject to the fruit of the
poisonous tree doctrine, criminal law 394, 154 C.J.S. criminal law 770, Evidence 252 ~ 258.

Furthermore, the testimony by Culpepper and Phelps can not be remotely construed as harmless
error, State v. Snvder, 98-1078, pg. 15 (La. 4/]4/99) 750 So.2d 832, 845 cited in Allen. M
recorded¥written, or video proof to supp_ort this lie. Fingl§/ on this assignment of error, defendant asserts

 

 

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that courts must bar the prosecution from implying that police officers or state witnesses are especially
telling the truth, or lack motive to lie. Such an implication is obvious where the prosecutor is aware that its
witness’s testimony is false, yet refuses to correct it, and that implication violates the prohibition against
cloaking witnesses in the protective mantle of the State (See U..S v. Gallardo Trapero 185 F3rd 307,

320, 5'/' cir 19991. ln this instant case it is to infer from Phelps_mstimoMs lack of proof to
support it that he was encouraged by the State to provided false testimony in an effort to obtain an$illegal

 

 

unlawful conviction See Napue v. lllinois 360 U S 264 79 S. Ct 11733 L Ed. 2d 1217(1§59) cited in
Giles. l\/looney v Holohan, 294 U. S. 103 55 S. Ct. 340 79 13. Ed 79 (1935)
MS. Supreme Court mandated jviolation of due process when prosecutor presented
er ured testimony). lts not punishment of soci_ety for misdeeds of prosecutor but avoidance of anj unfair
trial to the accused (See 373 U.S. at 87, 83 S. Ct. at 1196) and Berger v. U..S, 295 U.S. 78, 88 55 S. Ct.
629, 633, 79L. Ed.1314, 1935 427 U.S. at 111, 96S. Ct. at 2401, quoting Berger v. U.S.

ARG UMENT
ASSIGNMENT OF ERRUR

/ncoleete record

ln this assignment of error defendant Keil asserts that the court of appeals for the first circuit erred
in affirming his conviction and denying his motion for rehearing relative to a private conversation between
ADA Walls and ajury member during the deliberations Defendant asserts that ADA Walls was caught by
the bailiffin the court house hall way, engaging in conversation with ajury member. Upon discovering this
act the bailiff brought it to the attention of the court wherein all parties involved were summe§od$l)agk in
side the court room to discus the matter ADA Walls took the stand and tried to justify her poisoa,"by
stating the she bumped into the jury member 011 her way to the bathroom This could never have happened
because jury members are watched and escorted by the bailiff, so to say it was an accident is improbable
as jury members are under sequestration liowever, the fact is that her exposure to an `ur member durin
MMW€ ont of the scope of testifying in court is strictly MMMe
,.defen_dants__$rxth`§_n_imme_wis`trtiran right to receive_ g §al@dinijawial when&jury

\d§;c@co_rlpr‘ocess has_b§§gg_cllnw_[:furtbher the Appellant Court first Circuit recognized the
impropriety of l\/ls. Walls’ behavior, when it became constitutionally curious as to the substance of the
defenses argument, and issued an interim order on October 15'h 2013, to the trial court reporter to produce
the transcript of the private conversation or submit an explanation to the court first circuit of appeals
regarding why a transcript could not be generated The court reporter ignored the order and the court of
appeals -first circuit prematurely issued its decision affirming the defendant’s conviction without
reviewing the transcript in its entirety or seeking an explanation from the court reporter as to why it could
not produced ln essence, the appeals court violated its own interim order'_ Please note that the entire
conversation between ADA Walls, the trial judge and the defense regarding the private conversation was
transcribed by the trial court reporter, but for reasons yet unknown to the defendant that entire portion of
the record to this date has not been produced lt is the assertion of this defendant that the expaite
communication between ADA Walls and jury member during deliberation resulted in prosecutorial
misconduct and juiy tampering Fact is that what ever information that was exchanged between ADA
Walls and the juror in question is cause for reason to imagine that this particular juror could have been the
influential vote that caused the unanimous guilty verdict of manslaughter See Art 873. C. Cr. P.

The fact that ADA Walls had this conversation with a juror during_deliberation could hav

 

 

 

possibly negated defendant Keil chance to have a vote in his favor Append v. Jersev, 530 U.S. 466 2000. y

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. -+{;Mr'»d 319
`»D decrsrori:<byn an appeals c§iii‘t§ predicated upon an rnjcomglee recor rs statutor ly and

constitutionally prohibited in that it denies a defendant a fair appeal (see U.S. v. Upsliaw, 448 F. 2 1218
5”' cir. 1971) cert. denied 405 U.S. 934, 92 S. Ct. 970, 30 L. Ed. 2d 810, (1972). State v. Ford, 338 So.2d
107, (1976) (U.S v. Tavlor, 303 F. 2d 165, 1691 (4"’ 1962); State v. Bizette, 334 So. 211392, (La. 1976);
State v. Robinson, 381.5‘0. 2d 1143 (La. 1980),' also see (La. Const. 1974, art I, sec 1.9). This is obvious
grounds for reversal conviction, and sentence and order of acquittal due to incomplete record and denial of
a fair appeal, due process clause as it attaches to the Fourteenth Amendment of U.S. Constitution. Please
note that appellate counsel (Mr. Prentice White) is not the trial counsel and in his brief to the court of
Appeal-lst Circuit, he stated that the “ex parte” conversation between ADA Walls and the jury members

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was before jury deliberations However, the fact is that this conversation was held “_c_lg@g” jury
deliberations when the jury had retired to the jury room to deliberate The trial record stopped at closing
arguments and started again when the jury stated its decision. The entire part where the “bailiff told the
judge, and the defense Was brought into the court, as well as ADA Walls to explain why she was talking to
ajuror in the hallway, and was also transcribed has been totally left out ofthe trial transcripts The missing
portion of the transcript in question here is the part that is supposed to be transcribed between the retiring
of the jury for deliberations and the reaching of its decision. The entire portion of the jury tampering has
been totally left out. This fact was complained of, to the court of appeal-1st circuit Who in return issued an
interim order demanding the district court reporter to produce the transcript ex parte conversation between
ADA Walls and the juror during jury deliberations or in the interim the court reporter was instructed to
give an explanation as to why said transcript could not be produced The district court reporter ignored all
orders given by the Court of Appeal -ls‘ Circuit, and gave no explanation for her actions or lack thereof
fSee exhibits “D&E”). Defendant further asserts that the ex parte communication between ADA Walls and
the juror during deliberations was a substantial violation to his right of due process andf or the appea s
UMMWt the benefit of the entire reco17 d`regu_rr§ reversal The purpose
of constitutional and statutory provisions is to make certain that all proceedings 1n felony cases are
recorded so that its possible for a party to support his assignments of error on appellate review.. ..(§e_e
Article 843, La. Const. 1974). When a portion of the trial has not been recorded a party cannot perfect
assignments of error which occurred during that portion of the trial, and the appellate court cannot review
any such errors, pursuant to errors Pursuant to C.CR.P, art. 920, in order to insure that the trial was
properly conducted, State v. Ford, 338 So.2d 107 (La.1976),' Hardv v. U.S. 375 U.S. 2 77, 84 S.Ct. 424, 11
L.Ed. 2d 331 (19641; The Supreme Court has mandated that through no fault of the defendant a transcripts
of the trial proceeding is no longer available; and under these circumstances this court has no choice but to
reverse the conviction; Hardy, supra. In Louisiana, as in federal courts, on appeal from a felony conviction
it is an absolute right. La. Const., art. 7, section 10,' La. Const. art. 5, section 5, (D) (2) (1974),‘ Coppedge
v. U.S. 369 U.S. 438, 82 S.Ct. 917, 8 L.Ed. 2d 21 (1962). Without a complete record from which a
transcript for appeal maybe prepared a defendant`s right of appellate review is rendered meaningless
Defendant Keil deserves a right to have his appeal heard and decided on all of the evidence to
include but not limited to a full and complete 1ecord The best interest ofjustice requires that since his fate
was decided without the benefit of a complete record he must be afforded a reversal and ultimately an

acquittal

  
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
  

 

 

 

 
     
  

ASSIGNMENT OF ERRO '.
Unlawful and Ille,qal Verdict ‘ - .- ‘ t 7 »
lee district court erred in denvint7 defendant’ s motion for new trial, post judgment verdict of acquittal
based upon a substantial lock of evidence and iurv tampering perjured & false testimony).

The trial court erred in denying the defendant’s motion for new trial and motion for postjudgment
verdict of acquittal. These motions are founded upon the idea that an injustice has been done the defendant
Namely, that the conviction is against the weight of the evidence. The weight of the evidence specifically
refers to determination by the trier of fact that a greater amount of credible evidence supports one side of
an issue over the other; Tibbs v. Florida, 457 U.S. 31, 37, 102 S.Ct. 2211, 2216 (1982).

The trial court improperly denied motion for rehearing, and motion for post verdict judgment of
acquittal, when it is apparent from the record, that there Was impropriety on the part ofADA Walls and her
private conversation with jury members in the midst of an ongoing trial. Additionally, the trial and appeals
courts denials deprived Mr. Keil the opportunity to investigate the allegations reported by the bailiff, and
consequently deprived him of the right to have a fair trial and appeal. Notably, the defendant Keil was
found not guilty of the offense charged (2“‘1 Degree Murder), due to insufficient evidence, therefore the
verdict of guilty to manslaughter was rendered in error when considering that the elements of manslaughter
was not satisfied in this instant case. There was never any physical or scientific evidence offered by the
state; there was no out of court identification as to a positive i.d.; there never were any confessions
statements or otherwise Not to mention the perjured and false testimony of the police officers, namely
Captain Culpper, Lt. Phelps and Sgt. l\/IcDanieli

Furthermore, defendant asserts that the in court identification Was highly suggestive in that the
media exposure three (3) years earlier by plastering his face on the front page of the newspaper and the
lnternet absent an out of court identification prejudiced him by allowing the alleged eyewitnesses to see

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him for the first time. This is supported by the fact that at the time of the incident, no one was able to
positively identify the defendant as the perpetrator of this crime, as attested to by the w

This act irreparably damaged the defendant’s right to present a defense; and should have been stopped at
the motion to suppress and quash hearing on 5/2/201 l, which Was erroneously denied by the trial court.
(See exhibit “B”, page 7, 8, & lZ).As to jury tampering by Captain Culpper, (see exhibit “B”, page l l, see
also TR., page 884). `F|Lt`A_p T?ZM.-SCJZ/Lf_+_§__

ln essence the defendant argues that, the verdict of manslaughter in this instant case indicates that
the jury did not find enough evidence to conclude that he committed the crime of murder, thus the
confiicting, inconsistent and false statements by Officers Culpper, Phelps and Mc Daniel was highly
prejudicial as well as coupled with the jiu'y tampering by the officers above and ADA Walls, insufficient
evidence, was not sufficient to establish a guilty verdict of manslaughter. (See exhibit “B” pages 16-19);
and Degraaf v. State,ALA. App., 37 So2nd 130, arguments 3,7,8,10,11.; Cltampion v. State 5 Div. 271
cited as 44 Soan 616, argument # 7,' Edwards v. State, Ala., App. 34 S02d l 73, arguments 1,213, and 4.

Pursuant to Article 851 (5), the trial judge reviews the evidence as the 13th juror when either 851.
(1) or article 851 (5) are the grounds for a new trial. ....State v. Watts, 835 S02nd 441, 449, (La. 2003), see
also State v. Jeanlouis, 683 So.Z”" 1355 (La. App. 3”' Cir. 1996L' the 13“‘ juror standard directs the trial
court to reweigh the evidence and either agree or disagree With jury’s decision A trial judge Who sits as a
l3th juror entertains such questions as l) Was the verdict contrary to law, 2) Was the verdict contrary to
the evidence, 3) Does the verdict falls short of serving the best interest ofjustice. Thus, ifthe answer to any
of these questions such as above suggested is yes, then the defendant’s conviction shall not stand.
Therefore7 this court shall reweigh the evidence against the defendant as the l3‘h juror_, which necessarily
includes a review of the credibility of the witnesses and the lack of physical and scientific evidence that the
state miserably failed to present When there is an improper denial and there is a specific showing of
prejudice, a reversal is the proper remedy. (State v. Haarala, 398 So.2d 1093, 1099,(La. 1981). Therefore
when the jury acquitted the defendant of second degree 'murder, it was lawfully left with only one other
verdict, that verdict is not guilty, see State v. Lombard, 486 So.2d 106, (1986). This instant case does not
have any evidence that would remotely justify a verdict of guilty to manslaughter, nor were the elements
satisfied Even though ADA Walls attempted to establish motive by way of Sgt. l\/[cDaniel’s testimony and
his rendered opinion that the issue was retaliation, there was no evidence to support such an outlandish
allegation This case demands an acquittal

ARGUMENT:
ASSIGNMENT()F ERROR
INEFFECTIVE ASSISTANCE OF CUUNSEL
Defendant’s trial counsels were ineffective at trial.

The right of defendant in a criminal proceeding to the effective assistance is mandated by the
Sixth (6"') Amendment to t/te U.S. Const., State v. WillarsJ 27, 394, (La. App. 2d Cir. 9/27/95, 661 So. 2d.
673). The U.S. Supreme C ourt in Striclcland v. Was/tington, 466 U.S. 668, 104 S.Ct. 2052, 80 L.Ed. 2d
274 (1984)z established a two prong test to determine ineffective assistance ofcounsel. First, the defendant
must show that counsel’s performance was deficient such that counsel made errors so serious that he Was
not functioning as the “counsel” guaranteed by the sixth amendment Strickland v. Washington, supra. The
relevant inquiry is Whether counse|’s representation fell below the standard of reasonableness and
competency required by prevailing professional standards in criminal cases.

The right of a defendant in a criminal proceeding to the effective assistance of counsel is
mandated by the Sixth Amendment to the U.S. Constitution. State v.Willarsl supra. Tlie U.S. Supreme
Court, in Strickland v. Was/tington, 466 U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984), established a
two-prong test to determine ineffective assistance of counsel First, the defendant must show that counsel‘s
performance was deficient such that counsel made errors so serious that he was not functioning as the
"counsel" guaranteed by the Sixth Amendment Strickland v_ Washington, supra. The relevant inquiry is
whether counsel's representation fell below the standards of reasonableness and competency required by
prevailing professional standards in criminal cases. State v. Willarsz suQra. The assessment of an attorney's
performance requires his conduct to be evaluated from counsel's perspective at the time ofthe occurrence
A reviewing court must give great deference to trial counsel's judgment, tactical decisions, and trial
strategy, strongly presuming he has [43,291 La.App. 2 Cir. 12] exercised reasonable professional
iu(lgment. State v. Grant, 41, 745 jLa.App. 2d Cir.4/4/07), 954 So.2d 823, writ denied, 2007-1193
(La.12/7/07)z 969 So.2d 629. Secondly, the_defendant_ must show that counsel's errors Were so serious as to

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deprive the defendant of a fair trial, with a reliable result. Strickland v. Was/tington, supra. There is a
strong presumption that the conduct of counsel falls within the wide range of reasonable professional
assistance The defendant bears the burden of proving that certain acts or omissions by his counsel were
deficient and that this deficiency led to an unreliable outcome The defendant must prove actual prejudice
before that relief will be granted lt is not enough to show that the error had some conceivable effect on
the trial's outcome To prevail under the dual test of Stricl<land, the defendant must show that, but for
counsel's unprofessional errors, there is a reasonable probability that the outcome of the trial Would have
been different State v. Willarsz sugra.

A conviction will not be overturned on the grounds of an erroneous jury charge unless the
disputed portion, when considered in connection with the remainder of the charge, is erroneous and
prejudicial An erroneous instruction is subject to harmless error review or, in the case of an ineffective
assistance of counsel claim, an analysis of whether the defendant was prejudiced by the error. The
question becomes whether it appears beyond a reasonable doubt that the erroneous instruction did not
contribute to the jury’s finding of guilt or whether the error is unimportant in relation to everything else the
jury considered, as revealed in the record. Stated [43,291 La.App. 2 Cir. 13] another way, the appropriate
standard for determining harmless error is whether the guilty verdict was stirer attributable to the jury
charge error. State v. Gad(lis, 36,661 (La.App.2d Cir.3/14/03), 839 So.2d 1258, writ (Ienied, 2003-1275
(La.5/I4/04), 872 So.2d 519, cert. denied, 544 U.S. 926, 125 S.Ct. 1649, 161 L.Ed.2d 487 (2005),' State v.
Cooper, 2005-2070 (La.App. Ist Cir.5/5/06), 935 So.2d 194, writ denierl, 2006-1314 (La.11/22/06), 942
So.2d 554,

As a general rule, a claim of ineffective assistance of counsel should be raised on an application of
post conviction relief in the trial court, so that a full evidentiary hearing maybe held under La.C.Cr.P.
[l3][l4][l5] The right of a defendant in a criminal proceeding to the effective assistance of counsel is
mandated by the Sixth Amendment to the U.S. Constitution. State v Willars, supra. The U.S. Supreme
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judgment > State v. Grant, 41,745 (La.Apl). 211 Cir.4/4/07), 954 So.2d 823, writ denied, > 2007-1193

(1,!1.12/7/07)z 969 So.2d 629.

Secondly, the defendant must show that counsel's errors were so serious as to deprive the
defendant of a fair trial, with a reliable result. Strickland v. Washington, supra. There is a strong
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The defendant bears the burden of proving that certain acts or omissions by his counsel Were deficient and
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(La.5/14/04), 872 So.2d 519, cert. denied, 544 U.S. 926, 125 S.Ct. 1649, 161 L.Ed.2d 487 (2005); State v.
Cooper, 2005-2070 (La.App. Ist Cir.5/5/06), 935 So.2d 194, writ denied, 2006-1314 (La.11/22/06), M
So.2d 554, As a general rule a claim of ineffective of counsel should be raised on an application for post
conviction relief in the trial court, so that a full evidentiary hearing maybe held under Louisiana C.Cr.P.z
art. 930 .State v Williams, 33, 581 (La.App. 211 Cir. 6/21/00), 764 So 2d 1164). However, if the record
fully discloses the evidence necessary to decide the issues, it may be considered on direct appeal in the
interest of judicial economy. . . .State v. Willars, supra.

ln this assignment of error, the defendant asserts that his lead defense counsel l\/lr. John Lindner
Was on the case less than a week. From an investigative point of view, that is hardly sufficient enough
time for him to have competently familiarized himself with the many complicated issues in a case of the
magnitude as a second degree murder case ln fact, the defendant had only one visit with attorney Lindner,
and that was over the weekend prior to trial That visit lasted less than one (1) hour. This hardly constitute
adequate preparation of a formidable defense against the offense charged, particularly when the state’s case
was riddled with fabrications, inconsistent and perjured testimony, non credible witnesses, a lack of
physical/scientific evidence, no confession and a highly suggestive in court identification coupled withjury
tampering

The defendant further asserts that his counsel was ineffective at trial ¥yhen he refused to subpoena
and produce the witnesses he requested to testify on his behalf. (See exhibit “F"). This list included the
names of all the witnesses he wished to be subpoenaed included on that list Was the defendant’s mother,
l\/ls Geraldine Davis, a very important witness because she would have testified to the veracity of the
defendant’s alibi. Ms. Davis Was indeed in court for trial in spite of not being subpoenaed, but counsel
Lindner refused to allow her to testify against the defendant’s wishes as an alibi witness. This also can be
verified by Ms. Davis, who was only allowed to testify at the motion to suppress on 10/24/11. (Ms. Davis’
testimony verifying her son’s whereabouts on the date and time of the incident is transcribed in the trial
transcripts during the motion to suppress, dated 10/24/2011).

Counsel Lindner’s refusal to subpoena defendant’s witnesses violated his Sixth (o‘h) Amendment
right to compulsory process, which is a constitutionally guaranteed right. This right is embodied in both
federal and state constitutions and codified in statutory law, La. C.Cr.P. art., 731, State v. Lee, 446 So.2d
334 (La. App. 4"' Cir. 1984),' see also Kemp v. Leggett, 645 F2tl. 453 (5”' Cir. 1/27/1981), No. 80- 7471.

lt is the duty of competent counsel to strenuously test the adversarial process through
investigations, interviews with defense and state witnesses as well |n the instant case at bar, attorney
Lindner failed to properly conduct any of the above, as co-counsel John Almer'ico failed to do any of the
above as well The fact that Mr. Lindner was allowed to become the lead counsel and argue the case with
less than a week’s briefing of the case has to be deemed an unprofessional and ineffective performance
(See Kernp v. Leggett, supra_) and exhibit "’B pages 23-26.

Jurisprudence holds that prejudicial error arises when the absent witness is vital to the defense,s_ee
State v. Duplesssis, 2000-2102 (La. App. 4'/' Cir. 3/28/2001), 785 So.2d. 939),' State v Green, 448 S02d.
782 (La. App.2d Cir 1984),' State v. Peterson, 619 S02d. 786l 790, (La App. 4"’ Cir 1993). Defendant
further submits as evidenceL/lit such a subpoena list of his Witnesses did and does exist, see exhil§it “F". ln
fact, this same list Was copied and verified by hospital personnel while the defendant was under c urt order
concerning a compentency examination to stand trial ln essence the defendant’s constitutional right to
present a defense Was violated by his counsel’s failure to have those subpoenas served.

Defendant Keil asserts that counsel was even more ineffective when he did not object to the fact
that the state conducted a highly suggestive in court identification, when the record reveals that no one
initially identified the defendant as the “shooter”, and it was only due to the fact that the defendant’s face
had been unduly exposed in the news media without being positively identified from the start (see TRl
pages 1110. 1111 and 326); see also exhibit “B” page 12).

Had counsel made the jury aware of these points and objected to the in court identification, then
thejury’s understanding of these events had the potential to put the state’s witnesses’ credibility in serious
doubt, thus creating the possibility ofa complete acquittal as opposed to the finding of guilty to the lesser
verdict of manslaughter. Fact is that at the time ofthe incident, the witnesses could not positively identify
the defendant When the events were freshest in their minds7 so it is highly inconceivable that they could
positively identify him three (3) years later at trial (See Manson v Brathwaile, 432 U.S. 98, 97 S. Ct. 2243,
53 L.erl.2d 140). Furthermore, counsel’s ineffectiveness is even more evident considering his failure to
make a contemporaneous objection to the lesser included guilty verdict of manslaughter and improperjury

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instructions as well lt is obvious from the facts that “retaliation” is not an element of manslaughter. The
defendant maintains his innocence of this crime, however. the time frame between the initial altercation
and the actual incident as defined in the code of criminal procedure would not remotely figure in this
instant case The elements ofmanslaughter are l) sudden passion, 2) heat of blood; immediately caused by
provocation sufficient to deprive an average person of his self control and cool reflection. Under such
circumstances the state bears the burden of proof. l\/loreover, the jury is free to infer the mitigating
circumstances from the evidence; provocation shall not reduce a homicide to manslaughter, if the jury
finds that an average person’s blood would have cooled The state never offered any evidence to remotely
suggest that this instant crime was a crime of sudden passion, heat of blood, or provocation to an extent
that would have caused the defendant to act in accordance with the elements of manslaughter. Therefore,
when the jury acquitted him of the charge of second degree murder, it was lawfully left with only one other
verdict, that is verdict of not guilty.._See State v. Lombard, 486 So.2d 106, (1986). Counsels in the instant
case were incompetent and ineffective Their performances did not rise to the competency and adequate
level mandated by Strickland v. Washington, supra. John Lindner and John Almerico inadequate
performances caused a gross miscarriage of justice which unfairly denied the defendant the right to a fair
and equitable trial Their Willingness to allow the state to mislead the jury without strenuously objecting
rendered a false verdict of an offense whose elements do not fit the evidence submitted The only remedy
for stroh ineffective is an acquittal See also exhibit “B”, pages 23-26. and see also trial transcripts listed
on those pages
CONCLUSION

The defendant/Appellate, pro se Curtis A. Keil request that this Honorableh€ourt by

way of its supervisory powers vacate and set aside his conviction and sentence for manslaughter and rule
an acquittal in the defendant’s favor, due to the state’s obvious lack of physical and scientific evidence, no
out of court identification, positive or otherwise combined with an illegal highly suggestive in court

identification due media exposure, perjury and false statements as well as jury tampering

Furthermore, no statement or confession was ever made in the three (3) years awaiting trial, and

no statement was ever produced or presented at trial for the judge, jury or defense or for the motion to
suppress hearing at any time Moreover, for the state to try and deceive this Honorable Couit, as it did the
jury and the court of appeal’ ls‘ cir., by saying a statement existed, and write it in their argument as if it
was produced and presented, is a bold and calculated lie. See exhibit "'A", pages 5 and 6, police reports.
This also shows the obvious prosecutorial misconduct, perjury and false statements, malfeasance in office,
malfeasance in office tampering with evidence and lack of evidence to convict, and errors in denying

defendant’s motion to quash and suppress on 5/2/201l ge 3 r le ” ‘°°l le

Late disclosure as argued by appellate coiin§eL has nothing to do with the fact that the evidence

that the state said it had could never b§produced "owr presented See State v. Gag, supra The record will
sliotwand prove that no statement oR confession on behalf of the defendant is entered wm
record b
" ln a nutshell, this instant case reeks of prosecutorial misconduct unlawful verdict, jury tampering
decisions rendered upon an incomplete record, perjury and false statements, ineffective assistance of
counsel insufficient and inadmissible evidence lt is incumbent upon this Honorable reviewing Court to
render justice in this matter by reversing the lower courts decisions and entering an acquittal ordering the
immediately discharge ofthis defendant Curtis Keil The defendant prays that this be done in the name of

.lehovah-God and His Son’s Name and blood Jesus Christ. my Lord and Savior. Amen.

 

 

 

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AF`FlDAVlT
l, do herby declare under penalty of perjury that l am the pro se litigant in the above motion and
that all of the facts and or allegations are true and correct to the best of my knowledge information and
belief.
THUS SIGNED AND DONE ON THIS

ff'M/" DC»<£M b@i. Afriani

 

 

